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                                        No. 23-1059


                   United States Court of Appeals
                       for the Fourth Circuit
                        SOUTH CAROLINA STATE PORTS AUTHORITY,
                                                                       Petitioner,
                                       and
          THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME ALLIANCE,
                                      LTD.,
                                                 Intervenors for Petitioner,
                                        v.
                         NATIONAL LABOR RELATIONS BOARD,
                                                               Respondent,
                                       and
              INTERNATIONAL LONGSHOREMEN’S ASSOCIATION, LOCAL 1422;
                   INTERNATIONAL LONGSHOREMEN’S ASSOCIATION,
                                              Intervenors for Respondent.

                        On Petition for Review of an Order of the
                            National Labor Relations Board


                                   REPLY BRIEF

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                                   INTRODUCTION

              It is an unfair labor practice for unions “to threaten, coerce, or

        restrain any person engaged in commerce,” where “an object” of the

        union’s coercive conduct is to force that person to “cease doing business

        with any other person.” 29 U.S.C. § 158(b)(4)(ii)(B). ILA’s dispute is with

        SCSPA and its use at Leatherman of the hybrid ILA-state employee labor

        model historically used at all Port of Charleston Terminals. But ILA’s

        lawsuit coerces USMX and its carrier-members to cease doing business

        at Leatherman for that reason. The lawsuit is, therefore, an unlawful

        secondary boycott of SCSPA, and has an “objective that is illegal under

        federal law.” Bill Johnson’s Rests., Inc. v. NLRB, 461 U.S. 731, 737 n.5

        (1983). Indeed, “[y]ou could not ask for a more classic case of unlawful

        secondary pressure.” Dissent 16 (JA1341).

              The NLRB nonetheless claims that ILA’s lawsuit had a lawful

        work-preservation purpose. The Board acknowledges that to invoke this

        defense, ILA must show that the lawsuit’s sole objective was preservation

        of bargaining-unit work and the lawsuit was directed at the entity that

        controls the work assignment. See NLRB v. Int’l Longshoremen’s Ass’n,

        473 U.S. 61, 77 (1985) (“ILA II”). Here, the work at-issue is neither



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        bargaining-unit work, nor work controlled by USMX carriers. It is the

        lift-equipment work that has always been performed by state employees

        at the Port of Charleston. SCSPA is not a member of the multi-employer

        bargaining unit covered by the Master Contract; its employees have

        never been ILA members; and SCSPA controls the assignment of those

        jobs. Thus, ILA’s lawsuit against USMX carriers “sought to acquire work

        that [ILA members] never had and that [USMX carriers] had no power

        to give it.” NLRB v. Loc. 638, Enter. Ass’n of Steam Pipefitters, 429 U.S.

        507, 528 n.16 (1977) (“Pipefitters”). It is unlawful secondary activity.

              The Board and ILA primarily contend ILA’s lawsuit sought to

        preserve bargaining-unit work because ILA represents a coastwide

        bargaining unit; its members perform lift-equipment jobs at many other

        East Coast locations; and therefore forcing USMX carriers to cease doing

        business with SCSPA somehow “preserves” bargaining-unit jobs

        elsewhere. Initially, as Pipefitters makes clear, the work at-issue here is

        the work at Leatherman; work at other Ports is irrelevant. Further,

        however the historic bargaining unit is defined, it has never included lift-

        equipment jobs at Charleston and other southeast regional Ports. A

        bargaining unit is not a geographical region; it is a defined set of



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        employers and employees, here those signatory to the Master Contract.

        Only jobs of signatory employers are bargaining-unit jobs. Because the

        signatory employers here have never had the power to assign the lift-

        equipment jobs in Charleston, the ILA’s lawsuit would not “preserve” any

        such jobs.

              On the Board’s logic, ILA would seek to “preserve” bargaining-unit

        jobs any time it coerces an employer signatory to the Master Contract to

        cease doing business with any non-signatory employer on the East Coast

        whose employees perform jobs ILA members perform—whether or not

        that non-signatory employer has ever been covered by the ILA’s Master

        Contract.

              This is a breathtaking proposition that would gut the secondary-

        boycott prohibition. Unions have a work-preservation purpose only if

        they seek to preserve bargaining-unit jobs, not when they coerce

        bargaining-unit employers to stop doing business with employers outside

        the bargaining unit because they object to the labor policies of the latter.

        Nat’l Woodwork Mfrs. Ass’n v. NLRB, 386 U.S. 612, 630-31 (1967). See

        also Marrowbone Dev. Co. v. Dist. 17, United Mine Workers of Am., 147




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        F.3d 296, 303 (4th Cir. 1998) (citing NLRB v. Int’l Longshoremen’s Ass’n,

        447 U.S. 490, 507 (1980) (“ILA I”)).

              Moreover, and independently, even if the bargaining-unit work

        were defined as the Board proposes, the lawsuit would preserve no ILA

        jobs. The record shows that carriers that do not call at Leatherman call

        at other Charleston terminals or other regional Ports, which use the

        hybrid model. Not a shred of evidence suggests that coercing USMX

        carriers not to use Leatherman could “preserve” any bargaining-unit

        work.

              In addition, independently, ILA’s lawsuit was not lawful work

        preservation because SCSPA controls the job assignments at issue. The

        Board argues that USMX carriers control who handles their containers

        because they own the containers and decide which Ports to use. E.g., Br.

        50. Leaving aside the absence of any record evidence that (i) carriers can

        unilaterally change Ports or (ii) switching to another Charleston terminal

        or regional Port would preserve ILA jobs, the relevant “control” is over

        assignment of lift-equipment jobs at Leatherman—jobs “indisputably”

        controlled by SCSPA, Dec. 7 (JA1332)—not control over containers. See

        Hooks ex rel. NLRB v. Int’l Longshore & Warehouse Union, 544 F. App’x



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        657, 658 (9th Cir. 2013) (“ILWU’s argument regarding the shipping

        carriers’ ability to bypass the Port conflates the carriers’ control over

        their containers with the legal question of whether they have the ‘right

        to control the assignment of the work’ at this port”) (quoting Pipefitters¸

        429 U.S. at 537).

              Again, the implications of the Board’s position are stunning. On its

        view, a union may coerce an employer to cease doing business with a

        second employer with whom the union has a dispute, because the first

        employer can always purchase goods and services elsewhere and thus

        “control” who does the work. This would eliminate Congress’s prohibition

        of secondary boycotts and contradict Pipefitters, see infra at 24.

              As the Board dissent explains: “[T]o find the ILA’s lawsuit lawful

        because a carrier may ‘bypass’ a port where, and because, the SCSPA

        controls the lift-equipment work and assigns it to state employees is just

        another way of saying that the lawsuit is lawful because the carrier may

        cease doing business at that port.” Dissent 15 (JA1340). “In effect, [the

        Board] find[s] the ILA’s lawsuit lawful to the extent it succeeds in

        accomplishing its unlawful object!” Dissent 15 (JA1340).




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              Finally, the Board claims it reasonably decided that ILA and USMX

        did not agree to interpret the Master Contract to forbid USMX members

        to call at new Port facilities that do not employ ILA members for all

        longshore jobs. The Board ignores the historical context and USMX’s

        acquiescence to this interpretation, including its carriers’ refusal to call

        at Leatherman. Instead, the Board relies on USMX’s failure openly to

        admit it made an unlawful deal. But NLRA section 8(e) forbids either

        express or “implied” agreements to cease doing business. It was

        unreasonable for the Board to put its head in the sand.

              The hybrid labor model used at the Port of Charleston for 50 years

        permits the employment of as many ILA longshoremen as possible while

        complying with South Carolina’s policy decision to exclude state workers

        from collective-bargaining agreements. Using the hybrid model, any

        growth would result in a far greater increase in jobs for ILA members

        than for state employees. The other terminals and regional Ports to which

        carriers might divert also use the hybrid model. In no legal or practical

        sense does ILA’s lawsuit “preserve” any ILA jobs or address work

        controlled by USMX carriers. The Board’s decision should be vacated.




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                                     ARGUMENT

              This Court accepts the NLRB’s “legal interpretations” only if they

        “are rational and consistent with the Act” and “not inconsistent with

        Supreme Court case law. ” Tecnocap, LLC v. NLRB, 1 F.4th 304, 313, 324

        (4th Cir. 2021). The Board’s statutory interpretation here cannot be

        reconciled with precedent of the Supreme Court, this Court, or the Board.

        It also would nullify the statutory prohibition. It is not entitled to

        deference.

        I.    ILA Coerced USMX To Cease Doing Business with SCSPA
              Because SCSPA Used the Hybrid Model at Leatherman

              ILA’s lawsuit did not have a work-preservation purpose. Nor was it

        directed at employers who control assignment of the work at issue. On

        each independent ground, the Board decision should be vacated.

              A.     ILA’s Coercion of USMX Carriers Did Not Seek To
                     Preserve Bargaining-Unit Work

              1. SCSPA, not USMX, indisputably controls the lift-equipment jobs

        at Leatherman that gave rise to this dispute. See Dec. 7 (JA1332). The

        parties agree that, if ILA’s objective in suing USMX is to obtain those

        jobs—that is, if those jobs constitute the work at-issue—the lawsuit is an

        unlawful secondary boycott because that work was not “traditionally

        performed by employees represented by the union.” ILA I, 447 U.S. at

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        504.

               The Board and ILA seek to avoid this conclusion by defining the

        work at-issue, not as the lift-equipment jobs at Leatherman, but as “the

        loading and unloading generally at East and Gulf Coast ports.” Dec. 7

        (JA1332). The Board observes that the Master Contract establishes a

        coastwide, multi-port bargaining unit, Bd. Br. 40, arguing that although

        ILA-represented employees have never done lift-equipment work at

        Charleston, they have done it “across the coastwide unit,” Br. 46. Put

        differently, the Board defines the work at-issue based not on traditional

        bargaining-unit work at the site at issue, but on such work elsewhere.

               This approach to defining the work at-issue, however, is

        irreconcilable with, and thus foreclosed by, Pipefitters. There, although it

        was undisputed that union members “[t]raditionally” performed the

        cutting-and-threading work that was the subject of the union’s boycott,

        429 U.S. at 512, the Court did not define the work at-issue at that level

        of generality. Instead, it focused on the cutting-and-threading work at the

        specific worksite giving rise to the dispute. The Court found the union’s

        boycott unlawful because it was “uncontrovertible that the [cutting and

        threading] work at this site could not be secured by pressure on [the



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        signatory employer] alone and that the union’s work objectives could not

        be obtained without exerting pressure on [the secondary employer] as

        well.” Id. at 530 (emphasis added).

              Pipefitters teaches that the work at-issue must be defined in terms

        of the specific work, at the specific site, giving rise to the dispute. Here,

        under that framework, the work at-issue is the lift-equipment jobs at the

        Port, which ILA-represented employees have never performed and thus

        cannot seek to preserve.

              Significantly, and consistent with Pipefitters, this Court has

        explained that a union cannot rely on the work-preservation doctrine to

        justify coercive actions aimed at acquiring work performed at one

        worksite based on the union’s representation of employees who perform

        similar work “at other . . . sites.” Marrowbone, 147 F.3d at 299. The Board

        attempts to distinguish Marrowbone by arguing that it involves the

        creation of a new bargaining unit, Br. 42–43, while here SCSPA

        employees are not in any bargaining unit. That distinction is irrelevant:

        In each case, the union’s coercion was directed at jobs outside the union’s




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        bargaining unit, and that is not work preservation.1 See Nat’l Woodwork

        Mfrs., 386 U.S. at 630–31 (union may not “reach out to monopolize jobs

        or acquire new job tasks when their own jobs are not threatened” by the

        employer being coerced) (emphasis added).

              Likewise, in Local 32B-32J Service Employees International Union

        v. NLRB, 68 F.3d 490 (D.C. Cir. 1995), the court rejected the union’s

        attempt to “illegally extend the contract to reach outside the contractual

        bargaining unit,” saying “the [union’s] efforts to enforce its interpretation

        of the contract were intended not to preserve work (that it had never

        done), but to pressure Golden to change its labor policies.” Id. at 495. The

        Board purports to distinguish Local 32B-32J because it did not involve

        “containerization or any similar technological change.” Br. 46 n.8. This is

        a non-sequitur. Whether a job has been transformed by technology or not,

        a union does not seek to preserve work when it coerces one employer to

        cease doing business with an employer outside the bargaining unit




        1 Revealing concern about Marrowbone, the Board argues that the Court

        should not follow it unless it “leaves no room for agency discretion.” Br.
        45. Marrowbone follows U.S. Supreme Court decisions, see Op. Br. 33-35,
        and the Board’s extension of work preservation to coercion focused on jobs
        outside the bargaining-unit is wholly inconsistent with that precedent.

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        because that second employer does not assign work to union members.2

              Relatedly, while the Board recognizes that a union’s actions are

        only considered primary and lawful when “aimed at influencing an

        employer’s labor relationship with its own employees,” it asserts without

        citation that ILA’s lawsuit is “addressed to the labor relations of USMX—

        the contracting employer—vis-à-vis the longshoremen it directly or

        indirectly employs along the East Coast.” Bd. Br. 34, 44. This claim is

        frivolous; the lawsuit seeks to coerce USMX carriers not to call at

        Leatherman by punishing them for doing so. See, e.g., GC Exhibit 4

        ¶¶20–26 (JA524–525); GC Exhibit 4 ¶34 (JA526) (claiming USMX carrier

        committed tortious interference with contract by bringing its “container

        vessels to the Leatherman Terminal in April 2021, as workers not

        covered by the Master Contract were hired to perform crane and terminal

        work … from [the member’s ship]”); GC Exhibit 4 ¶44 (JA528) (same for

        civil conspiracy); GC Exhibit 4 ¶49 (JA528–529) (same for Master


        2 The Board also incorrectly claims ILA’s acquiescence to the hybrid
        model at the Port and its sister regional Ports is irrelevant to whether
        ILA sought to preserve work at Charleston, Br. 47. That established,
        decades-old acquiescence shows the historic bargaining-unit has never
        included lift-equipment jobs at Ports using the hybrid model, including
        Charleston—a fact clearly relevant to whether ILA seeks to preserve
        bargaining-unit jobs.

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        Contract breach). The complaint alleges no claims against USMX

        carriers based on their relationships with their own employees.3

                In addition to ignoring the logic of Pipefitters and Marrowbone, the

        Board also fails to do business with the logic of its position. If under the

        banner of “work preservation,” ILA can coerce employers signatory to the

        Master Contract to cease doing business with any non-signatory

        employer on the East Coast whose employees do jobs ILA members

        perform at some other locations, the prohibition on secondary pressure

        would be “eviscerated.” See Amicus Br. of Chamber of Commerce 11 (if

        “work preservation can be established by looking to the type of work

        performed by union members in completely different parts of the country,

        the Board [gives] a green light for unions to use pressure tactics to take

        away jobs from non-union members in places where they have long

        worked”).4


        3 The Board and ILA argue, in essence, that ILA’s lawsuit does not seek

        to coerce USMX carriers to cease doing business with SCSPA, but instead
        to require the carriers to do business with other Ports. This argument is
        inconsistent with both the complaint’s allegations and with logic: Forcing
        carriers to do business with others coerces them to cease doing business
        with SCSPA.
        4 The Board cites American President Lines, Ltd. v. International
        Longshore & Warehouse Union, 611 F. App’x 908, 911 (9th Cir. 2015), for
        the proposition that “the bargaining unit is comprised of multiple

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              2. Even if the Board’s identification of the work at-issue as “the

        loading and unloading generally at East and Gulf Coast ports” were

        correct, there is no factual basis (let alone substantial evidence) for the

        Board’s assertion that the objective of ILA’s lawsuit is to “stop expansion

        of the hybrid work’ at the new Leatherman Terminal so as not to lose

        more of its work loading and unloading containers” at other Ports. Bd.

        Br. 46; see Dec. 7 (JA1332). Although ILA’s brief revives its argument

        that ships would divert to Charleston from other Ports if Leatherman

        uses the hybrid model, see ILA Br. 34, the ALJ rejected that argument,

        and the Board did not adopt it. See ALJ Dec. 29 (JA1354) (characterizing

        ILA argument of diversion as “vague speculation,” “without any

        evidentiary support”). The record shows that ships that did not use

        Leatherman instead called at other Charleston Terminals using the

        hybrid model. Dec. 3 (JA1328). No record evidence even suggests that

        ships bound for New York or Baltimore would travel to Charleston



        employers who are signatory to the operative collective-bargaining
        agreements, at all covered ports.” Bd. Br. 41. That case involved a
        signatory carrier whose ILWU-represented employees had “historically
        performed stevedoring work” in Seward, Alaska. Id. SCSPA is not
        signatory to the Master Contract; and ILA members have never
        performed its lift-equipment work. American President Lines,
        accordingly, sheds no light here.

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        because it uses the hybrid model. See ALJ Dec. 29 (JA1354) (finding no

        evidence that “work might migrate from ILA-controlled ports to

        Charleston”). Indeed, the record shows that Charleston is a regional port,

        see ALJ Dec. 29 (JA1354); customers use it because of the inland

        destination of cargo. Tr. 143, 134 (JA153, JA144). Thus, coercing USMX

        vessels to divert from Leatherman to Wilmington or Savannah would not

        “preserve” any bargaining-unit work. It would simply expand the volume

        of work performed under the hybrid model elsewhere. See Dec. 2 n.5

        (JA1327) (identifying other regional ports as using the hybrid labor

        model); ALJ Dec. 19 (JA1344). The Board did not reverse these ALJ

        findings, to which it owed deference. See n.6 infra.

              Implicitly acknowledging the absence of any evidence that

        Leatherman will cause ILA “to lose more of its work,” Bd. Br. 46, the

        Board argues that a new terminal such as Leatherman must have

        “incorporate[d] upgrades and/or innovative technology” because it would

        “defy common sense” to build a new terminal without such

        improvements, id. at 49 (quoting Dec. 7 (JA1332 n.19)). This argument is

        doubly flawed. First, the Board cites no evidence of any technological

        changes at Leatherman, so its statement is “pure speculation.” Tecnocap,



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        1 F.4th at 313. Second, even if such evidence existed, to rely on it, the

        Board would have had to examine the changes and determine whether

        they displaced jobs held by ILA members. See ILA I, 447 U.S. at 507. The

        Board’s decision cites no such evidence or analysis, and there is none.

              The absence of evidence of any threat to ILA-member jobs also

        demonstrates why the containerization cases the Board and ILA

        principally rely upon are inapposite. Those cases arose in circumstances

        where “employees’ traditional work is displaced, or threatened with

        displacement, by technological innovation.” ILA I, 447 U.S. at 505; accord

        Am. Trucking Ass’ns, Inc. v. NLRB, 734 F.2d 966, 979 (4th Cir. 1984) (the

        work-preservation doctrine requires that there shall be no “diminution of

        [bargaining unit] work flowing from changes in technology”). In such

        cases, “[i]dentification of the work at issue . . . requires a careful analysis

        of the traditional work patterns that the parties are allegedly seeking to

        preserve, and of how the agreement seeks to accomplish that result under

        the changed circumstances created by the technological advance,” to

        ensure that the work-preservation agreement “seeks no more than to

        preserve the work of bargaining unit members.” ILA I, 447 U.S. at 507.

              Thus, in American Trucking and ILA, this Court and the Supreme



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        Court concluded that the union was engaged in work preservation where

        it sought jobs that functionally replaced jobs its members had performed

        before containerization. Id.; see Am. Trucking, 734 F.2d at 968. Here, by

        contrast, there is no evidence of technological displacement—or

        displacement for any other reason.5 However significant the “history of

        containerization” has been in the shipping industry, the Board’s repeated

        incantations of that phrase (Bd. Br. 48 (quoting Dec. 8 (JA1333))) are not

        “talismanic[,] nor can they substitute for analysis.” ILA II, 473 U.S. at

        81.

              Bermuda Container Line Ltd. v. ILA, 192 F.3d 250 (2d Cir. 1999) is


        5 Because the Board ignores the context of the containerization cases, it

        misunderstands the statement in ILA II that “the place where work is to
        be done ... is seldom relevant to the definition of the work itself.” 473 U.S.
        at 77. The Board reads this statement to endorse defining the work at
        issue in a dispute according to “traditional work patterns” in general,
        rather than at the “locus of the dispute.” Bd. Br. 45-46. But that is not
        what the Court meant. Referring back to ILA I, the Court was making
        the point that because technology may shift the location certain work is
        performed—e.g., moving the loading and unloading of ships from on-pier
        to off-pier—one cannot define the work at issue only by its location after
        the displacement has occurred. See ILA II, 473 U.S. at 77. Rather,
        identifying the “traditional work patterns” that may be preserved
        requires considering “all the surrounding circumstances, including the
        nature of the work both before and after the innovation.” ILA I, 447 U.S.
        at 507 (emphasis added) (internal quotation marks and citation omitted).
        Neither ILA I nor ILA II, however, suggests that “traditional work
        patterns” at one site may be used to define the work at-issue at another.


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        inapplicable for similar reasons. There, bargaining-unit members had

        performed the work in question for an employer in the multi-employer

        bargaining unit for years; that signatory employer sought to evade

        compliance with the governing agreement by moving the work. See id. at

        257. As the Court emphasized, the “proposed move to Salem would

        deplete the number of longshore jobs available to ILA workers in the port

        of New York and divert them to non-union labor in Salem,” which “would

        directly hurt existing members of the bargaining unit.” Id. The contrast

        with this case is clear: No similar findings or evidence suggest that ILA’s

        lawsuit seeks to preserve any bargaining-unit jobs.

              The Board next argues that it is “irrelevant” that ILA-represented

        employees have never performed the lift-equipment work at Charleston,

        because a union is “preserving work” when it seeks to obtain the new jobs

        created as a result of technological change that eliminates old jobs. Bd.

        Br. 45–46. But even the Board’s preferred historic bargaining unit has

        always omitted Ports using the hybrid model, including Charleston.

        While ILA may seek to preserve jobs bargaining-unit members lost

        through containerization by asserting its members’ rights to the

        transformed jobs of employers in the bargaining unit, ILA’s lawsuit does



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        not seek to preserve bargaining-unit work in the face of technological

        change. Before or after any technological change, the lift-equipment work

        at the Port of Charleston has never been bargaining-unit work.

              Ultimately, this complete absence of any factual basis for a work-

        preservation defense lays bare the true objective of ILA’s lawsuit: to

        obtain jobs at Leatherman. Clearly recognizing that such an objective

        would be unlawful, both the Board and ILA protest that ILA’s lawsuit

        “does not seek any work at the Leatherman Terminal.” Bd. Br. 50 n.10;

        see ILA Br. 29. But as the ALJ found, there is abundant evidence of “ILA’s

        desire to obtain all the container work at the Leatherman Terminal,”

        including repeated statements by senior ILA officials spelling out their

        demand for that work.6 ALJ Dec. 29 (JA1354).

              The Board altogether failed to address this evidence in its decision;

        its brief merely asserts that such statements, from “months and years




        6 Notably, the Administrative Law Judge (“ALJ”) found that the ILA
        lawsuit had an unlawful secondary purpose based in part on his
        assessment of witness evidence, ALJ Dec. 29 (JA1354) (ILA “denies” that
        it sought “to obtain all the container work at the Leatherman Terminal,”
        but “the evidence tells another story”) (citing testimony from ILA Vice
        President Daggett and ILA Delegate Riley, ALJ Dec. 29 (JA1354 n.35)),
        an assessment to which the Board owed, but failed to give, deference,
        NLRB v. Frigid Storage, Inc., 934 F.2d 506, 509 (4th Cir. 1991).

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        before the April 2022 lawsuit,” “do not alter the lawful, primary character

        of the lawsuit.” Bd. Br. 50 n.10. Respectfully, this is nonsense. Repeated

        statements by senior ILA officials in the run-up to the lawsuit are

        probative of the lawsuit’s objective. Tellingly, the Board offers no reason

        to think otherwise. See Butte Cnty. v. Hogen, 613 F.3d 190, 194 (D.C. Cir.

        2010) (“[A]n agency’s refusal to consider evidence bearing on the issue

        before it constitutes arbitrary agency action ….”).

              Instead, the Board and ILA base their characterization of the

        lawsuit’s objective entirely on the fact that the lawsuit does not name

        SCSPA or seek injunctive relief assigning ILA the Leatherman jobs. See

        Bd. Br. 50 n.10; ILA Br. 29. This ignores, however, that the gravamen of

        the lawsuit is that two USMX members called at Leatherman and that

        the lawsuit seeks over $300 million for just those two visits. Dec. 3

        (JA1328). The in terrorem effect of such claims is more than sufficient to

        fulfill ILA Vice President Riley’s threat that “if there are any new

        terminals built, and if they are not in compliance with the [Master

        Contract], the ships will not call on those facilities.” ALJ Dec. 29 (JA1354)

        (emphasis added). The Board and ILA’s argument, in essence, is that

        unless ILA effectively confesses its unlawful objective, no unlawful



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        objective may be inferred. But ILA cannot, through artful pleading,

        escape the fact that the clear objective of its lawsuit is work acquisition,

        not work preservation. See ILA I, 447 U.S. at 504.7

              In sum, ILA’s lawsuit would not “preserve” work that ILA

        bargaining-unit members have ever performed.

              B.   SCSPA—Not USMX—Controlled the Jobs At Issue.

              Independently, ILA’s coercive lawsuit had an “improper secondary

        objective” because the “work sought by the union [is] not under the

        control of [USMX carrier-members].” Pipefitters, 429 U.S. at 521–22

        (citing Nat’l Woodwork Mfrs., 386 U.S. at 616–17). ILA’s lawsuit was

        instead “tactically calculated to satisfy [its] objectives elsewhere.” Int’l

        Bhd. of Elec. Workers, Loc. Union No. 501 v. NLRB, 566 F.2d 348, 352

        (D.C. Cir. 1977) (quoting Nat’l Woodwork Mfrs., 386 U.S. at 644).


        7 ILA argues that its lawsuit seeks to preserve work by enforcing the

        Master Contract’s prohibition against subcontracting. E.g., ILA Br. 26–
        27. The Board did not rely on that ground, and it cannot support
        affirmance. See Yanez-Marquez v. Lynch, 789 F.3d 434, 461 n.14 (4th Cir.
        2015) (citing SEC v. Chenery Corp., 318 U.S. 80 (1943)). In any event, an
        employer engages in subcontracting when it contracts out “work
        previously performed by employees in the bargaining unit.” Fibreboard
        Paper Prods. Corp. v. NLRB, 379 U.S. 203, 210 (1964). USMX carriers’
        employees have never performed the lift-equipment jobs at the Port, so
        USMX carriers are not “contracting out” jobs at the Port, let alone
        contracting out jobs performed by ILA members to non-ILA labor.


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              As the Board itself found, SCSPA “indisputably” controls

        assignment of the work at issue. Dec. 7 (JA1332). The Board’s response

        is that USMX carriers decide which Ports to utilize and thus “control” the

        assignment of the work at issue. Dec. 7 (JA1332).

              Initially, this argument confuses an employer’s decision to do

        business with a second business and an employer’s ability to control the

        work assignments of that second business’s employees. The relevant

        control here is the latter—whether USMX carriers control the

        assignment of work at Leatherman. They do not. Indeed, as noted above,

        the Ninth Circuit rejected a similar argument, saying, “ILWU’s

        argument regarding the shipping carriers’ ability to bypass the Port

        conflates the carriers’ control over their containers with the legal

        question of whether they have the ‘right to control the assignment of the

        work’ at this port.” Hooks, 544 F. App’x at 658 (quoting Pipefitters, 429

        U.S. at 537) (internal quotation marks omitted).

              In any event, the Board’s view—that because USMX carriers can

        submit to ILA’s coercion and cease doing business with Leatherman, the

        carriers “control” who performs the work at issue—would have absurd

        consequences. Businesses can always decide from whom to purchase



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        goods and services. On the Board’s view, therefore, a union can always

        coerce an employer to cease doing business with a second employer that

        supplies goods and services, because the first employer is always free to

        take its business elsewhere. Again, that view would “eviscerate[]” the

        NLRA’s prohibition of secondary boycotts. See Amicus Br. of Chamber of

        Commerce 11.

              The Board purports to distinguish Hooks and a related case, Int’l

        Longshore & Warehouse Union v. NLRB, 705 F. App’x 1, 3 (D.C. Cir.

        2017) (per curiam), saying that in those cases “the work in question was

        found to be the specific reefer work at that port,” while here the work is

        “the coastwide loading and unloading of containers.” Bd. Br. 54–55. There

        is no difference. There, ILWU, like ILA here, argued that its master

        contract was a coastwide agreement and that its members performed

        reefer work at other West Coast ports. The courts and the Board rejected

        those arguments, recognizing that (i) the relevant question was who

        controlled the reefer work at Portland, not on the coast generally; (ii) the

        Port of Portland controlled that work; (iii) the carriers’ ability to call at a

        different port was irrelevant; and therefore (iv) ILWU’s coercion of

        carriers to cease doing business with the port operator (ICTSI) to force



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        the Port to use ILWU members for reefer work was unlawful secondary

        activity. E.g., ILWU, 705 F. App’x at 3 (enforcing Board decision that

        “labor practices targeted against … the shipping carriers … to pressure

        the Port to re-assign the dockside reefer work [to ILWU members] were

        unlawful secondary boycotts targeting an employer [the carriers] that did

        not have the right to control the work”). With a change in administration,

        the Board changed its view. Its prior view correctly followed judicial and

        Board precedent.8

              The Board’s efforts to distinguish Pipefitters are also unavailing. As

        explained above, there a subcontractor and its union had agreed that the

        subcontractor’s employees would cut and thread pipe on the jobsite; but

        the general contractor purchased pre-cut, pre-threaded pipe. The union

        sought to coerce the subcontractor to cease doing business with the

        general contractor, but the Supreme Court found the union’s coercion

        unlawful because the subcontractor had “no right to control” the pipe’s



        8 Amicus AFL-CIO cites Int’l Longshore & Warehouse Union (Kinder
        Morgan), 371 N.L.R.B. No. 125 (2022), which is wrong for the same
        reasons the decision below is wrong. It is also distinguishable because
        there the employer (Kinder Morgan) was a member of the Pacific
        Maritime Association, the multi-employer bargaining unit. SCSPA is not
        a member of USMX.


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        cutting and threading. 429 U.S. at 524–28. As the Board Dissent

        highlighted, see Dissent 15 (JA1340), the subcontractor could have

        chosen not to work for the contractor; but the Supreme Court nonetheless

        found the union’s pressure unlawful.

              The Board says Pipefitters is not relevant because “the work in

        question is not similarly confined to a single jobsite controlled by an

        employer at that jobsite.” Br. 52. But at single jobsites or multiple

        jobsites, if a union coerces an employer to cease doing business with a

        second employer outside the bargaining unit because it objects to the

        latter’s work assignments, that is an unlawful secondary boycott. See also

        George Koch Sons, Inc. v. NLRB, 490 F.2d 323, 328 (4th Cir. 1973)

        (prophetically embracing the analysis and outcome in Pipefitters); IBEW,

        No. 501, 566 F.2d at 351–52 (union violated section 8(b)(4)(ii)(B) by

        coercing neutral subcontractors to pressure general contractor to assign

        jobs to union-represented employees).

              Finally, the Board relies heavily on the Supreme Court’s ILA

        decisions, but ignores relevant factual differences. Those cases arose in

        settings where carriers used their own employees to stuff and unstuff

        containers, and thus carriers decided the assignment of that work—



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        sometimes using their own employees and other times releasing

        containers for others’ employees to perform that work. See Op. Br. 36, 48–

        49. Here, USMX carriers have never performed lift-equipment work at

        Charleston with their own employees and do not control assignment of

        that work. 9

              As the Board acknowledges, its arguments that USMX carrier-

        members “control” the work at issue depend on defining the work as

        “coastwide loading and unloading of containers,” including for employers

        who are not members of the bargaining unit. E.g., Br. 55. Defining “work”

        as the Board does would allow unions to claim that employers “control”

        the work assignments at other companies they do business with,


        9 ILA quotes American Trucking’s statement that shipping lines control

        their containers, ILA Br. 27; but carriers do not “control” all work
        assignments of all employers with respect to containers. As explained in
        text, the containerization cases were based on evidentiary records
        demonstrating that ocean carriers developed the technology and used
        their own employees to stuff and unstuff containers. See Hooks ex rel.
        NLRB v. Int’l Longshore & Warehouse Union, 905 F. Supp. 2d 1198, 1211
        n.7 (D. Or. 2012) (“[a]t least one key difference” between the case before
        the court and ILA II was that, in ILA II, the carriers employed the
        longshoremen), aff’d in part, vacated in part, 544 F. App’x 657 (9th Cir.
        2013). That record provided the basis for the courts’ findings of carrier
        control of the stuffing and unstuffing work. Here, USMX carriers have
        never performed lift-equipment work at Charleston with their own
        employees. See id. at 1212 (“Carriers have no power to assign the … work
        to ILWU members”).

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        including those outside the bargaining unit. Again, accepting that

        argument would gut the NLRA’s prohibition of secondary boycotts.

        II.   ILA And USMX Unlawfully Agreed Not To Do Business With
              New Container-Handling Facilities Which Do Not
              Exclusively Use ILA Members

              The Board decided that ILA and USMX had “reached no

        agreement” about whether Section 7 of the Master Contract prohibited

        USMX carriers from calling on new facilities that did not use ILA-

        represented employees to perform all container work, and therefore did

        not violate section 8(e). Dec. 3 (JA1328); ALJ Dec. 25 (JA1350). This

        decision was arbitrary and unreasonable.10

              Section 8(e) of the NLRA prohibits a union and an employer from

        making an “express or implied” agreement to cease doing business with

        a third party for an unlawful objective. By including “implied”

        agreements in the prohibition, “Congress meant to reach every device

        which, fairly considered, is tantamount to an agreement that the




        10 The Board argues that Marrowbone’s statement that courts review “de

        novo” whether a collective bargaining agreement violates Section 8(e) is
        irrelevant here because Marrowbone involved an arbitrator’s decision.
        Bd. Br. 22 n.4. If anything, judicial review of arbitral awards is more
        deferential than judicial review of NLRB decisions. See United
        Paperworkers Int’l Union v. Misco, Inc., 484 U.S. 29, 38 (1987).

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        contracting employer will … cease doing business with another person.”

        Lithographers Loc. 78 (Employing Lithographers of Miami), 130 N.L.R.B.

        968, 976 (1961). The Board decided that Section 7 was not an agreement

        to cease doing business with Ports that continued to use the hybrid model

        at new terminals only by isolating the contract language from the parties’

        conduct and ignoring the undisputed historical context of the ILA-USMX

        bargaining relationship and the practical reality underlying USMX

        carriers’ statements to SCSPA.

                First, the Board argues that Section 7(b) of the Master Contract is

        not unlawful on its face, because it requires only that USMX carrier-

        members give notice that they “may” be prohibited from calling at new

        facilities that use the hybrid labor model. Br. 25. The Board ignores, as

        SCSPA highlighted (Op. Br. 52), that ILA and USMX never conducted

        the “study” mandated by Section 7, supporting SCSPA’s argument that

        the parties never intended to “persuade” hybrid Ports to change their

        labor practices, and that Section 7 was a thinly-veiled threat. Op. Br.

        52.11


        11 The Board puzzlingly asserts that SCSPA waived its argument that

        the text was ambiguous, but then cites SCSPA’s argument in its opening
        brief, including that the parties failed to conduct Section 7’s mandated

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              The Board also never considers what the purpose of the required

        “notification” might be, other than to warn hybrid Ports that they will be

        boycotted if they use the hybrid model at new terminals. Only by viewing

        Section 7 without considering the historical setting and the parties’ need

        for plausible deniability about their agreement’s unlawfulness could one

        find the contract language unambiguous.

              Where, as here, contract language is ambiguous, the Board “will

        consider extrinsic evidence to determine whether the clause was intended

        to be administered in a lawful or unlawful manner.” Gen. Teamsters Loc.

        982 (J.K. Barker Trucking Co.), 181 N.L.R.B. 515, 517 (1970), aff’d, 450

        F.3d 1322 (D.C. Cir. 1971).12 The Board also asserts that SCSPA’s

        extrinsic evidence does not demonstrate the parties’ unlawful agreement,



        study. The Board also cites SCSPA’s assertion that, in this setting, the
        language was arguably a threat. Br. 27.
        12 The Board chastises SCSPA for refusing to accept its decision to credit

        the testimony of USMX counsel Caruso that USMX did not share ILA’s
        view that Section 7(b) meant that UMSX members cannot go to new
        terminals using non-ILA labor. Br. 28. But Caruso actually testified that
        Section 7(b) used the word “may” to allow for the possibility that an
        arbitrator might agree that “certain provisions in the [Master Contract]
        would prohibit the carriers from calling at a terminal that was not
        completely manned by ILA Labor.” ALJ Dec. 20 (JA1345); Tr. 314–316
        (JA325–327). This testimony supports SCSPA’s argument that the
        Master Contract was ambiguous.

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        but that argument likewise reflects the Board’s refusal to consider the

        relevant context. The Board reviews the numerous statements of USMX

        carriers to SCSPA, including some by USMX Board members, explaining

        why they would not call at Leatherman, but concludes that none

        expressly states that the Master Agreement required the carrier to

        engage in an unlawful secondary boycott of Leatherman. Bd. Br. 30.

              It is unsurprising that the Board could not find statements from

        USMX admitting to entering into an unlawful agreement (although ILA

        officials made many such admissions, see ALJ Dec. 20–21 (JA1345–1346);

        Dec. 4 & n.11 (JA1329); Tr. 284, 252, 264 (JA295, JA263, JA275)). It was

        unreasonable for the Board to insist that USMX officials incriminate

        themselves to find an implied agreement. Moreover, the Board ignores

        that numerous USMX carriers indisputably told SCSPA that they would

        not call at Leatherman and then refused to do so. The Board decided that

        those carriers, though USMX Board members, were not officially

        speaking for USMX, and declined to draw any inferences from the

        unbending refusal of USMX members to call without ILA permission,

        instead taking all at their word that they did not enter into an illegal




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        agreement. Bd. Br. 30–31.13 Viewed in context and “fairly considered,”

        Section 7 “is tantamount to an agreement” that USMX carrier-members

        will cease doing business with Ports building new facilities that employ

        non-ILA labor. Lithographers Loc. 78, 130 N.L.R.B. at 976.

                                     CONCLUSION

              The Board’s Decision and Order should be reversed.

                                                  Respectfully submitted,

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        13 The Board states that USMX carriers’ refusal to call at Leatherman

        should be attributed to ILA’s lawsuit, not any agreement, implicitly
        recognizing the lawsuit had a “cease doing business” purpose. Br. 31. But
        that uniform conduct reflects USMX’s acceptance of the practical reality
        that its members effectively had to agree to ILA’s contract interpretation,
        despite the legal prohibition on admitting to it.

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              Under Federal Rule of Appellate Procedure 32(a)(7), I certify that:

              This brief complies with Rule 32(a)(7)’s type-volume limitation and

        this Court’s order of March 17, 2023, because it contains 6,410 words, as

        determined by the Microsoft Word 2016 word-processing system used to

        prepare the brief, excluding the parts of the brief exempted by Rule

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                                                  /s/ Carter G. Phillips
                                                  CARTER G. PHILLIPS
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